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      In The United States Court of Federal Claims
                                           No. 08-700C

                                   (Filed: August 24, 2012)
                                          __________

 JAY ANTHONY DOBYNS,

                              Plaintiff,

                       v.

 THE UNITED STATES,

                              Defendant.
                                            _________

                                             ORDER
                                            _________

        A telephonic oral argument on the parties’ cross motion for summary judgment will be
held in this case on Wednesday, October 3, 2012, at 2:00 p.m. (EDT). Chambers will contact
the parties shortly before the scheduled oral argument time.

       IT IS SO ORDERED.



                                                          s/Francis M. Allegra
                                                          Francis M. Allegra
                                                          Judge
